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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

NOBLE EAGLE CORPORATION,                           )
                                                   )
       Plaintiff,                                  )
                                                   )
       v.                                          ) Case No. 4:20-cv-04076
                                                   )
UNITED STATES OF AMERICA,                          )
                                                   )
       Defendant.

   ORDER EXTENDING UNITED STATES’ TIME TO ANSWER OR RESPOND TO
      COMPLAINT AND THE DUE DATE OF THE SCHEDULING ORDER

       BEFORE THE COURT is Defendant United States of America and Plaintiff Nobel

Eagle’s Joint Motion to Extend Time to Answer or Respond to Complaint and to extend the Due

Date of the Scheduling Order. The Court, having considered the motion, finds it to have merit.

Accordingly, it is hereby ORDERED that the United States will serve its answer or otherwise

respond to the complaint by April 21, 2021. Further, it is hereby ORDERED that the parties will

agree to and submit a scheduling order to the Court by May 14, 2021.

IT IS SO ORDERED.

SIGNED this 25th day of January, 2021.


                                            _____________________
                                            _______________________________
                                                          _          ___________
                                            Gray H. Miller
                                            Seniorr United States District Judge
